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              NOTE: This order is nonprecedential.


       United States Court of Appeals
           for the Federal Circuit
                    ______________________

          CONTINENTAL SERVICE GROUP, INC.,
                   Plaintiff-Appellee

          PIONEER CREDIT RECOVERY, INC.,
          COLLECTION TECHNOLOGY, INC.,
       PROGRESSIVE FINANCIAL SERVICES, INC.,
             ALLTRAN EDUCATION, INC.,
                     Plaintiffs

                               v.

     UNITED STATES, CBE GROUP, INC., PREMIERE
          CREDIT OF NORTH AMERICA, LLC, GC
        SERVICES LIMITED PARTNERSHIP, FMS
        INVESTMENT CORP., VALUE RECOVERY
      HOLDINGS, LLC, WINDHAM PROFESSIONALS,
    INC., AUTOMATED COLLECTION SERVICES, INC.,
                      Defendants

              NATIONAL RECOVERIES, INC.,
                     Movant-Appellant
                  ______________________

                          2017-2391
                    ______________________

        Appeal from the United States Court of Federal
    Claims in Nos. 1:17-cv-00449-SGB, 1:17-cv-00499-SGB,
    Chief Judge Susan G. Braden.
                    ______________________
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    2           CONTINENTAL SERVICE GROUP INC.   v. UNITED STATES



          Before DYK, REYNA, and TARANTO, Circuit Judges.
    PER CURIAM.
                            ORDER
        The case is dismissed as moot in light of the court’s
    decision in Continental Service Group Inc., v. United
    States, No. 17-2155 (Fed. Cir.). The parties shall bear
    their own costs.


                                      FOR THE COURT

        January 12, 2018              /s/ Peter R. Marksteiner
              Date                    Peter R. Marksteiner
                                      Clerk of Court
